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                                                                                         FILED
                                                                                       U.S. District Court
                                                                                       Dislricl of Kansas


                                                                                    SEP 0 6 2018
                        THE UNTIED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS                          Cler'll\hs. ~ Court
                                                                               By        ~ Deputy            Clerk



LYLE VANNAHMEN,                                    )
                            Plaintiff,             )
                                                   )
    vs.                                            )     CASE#: 17-cv-1174
DODGE CITY COMMUNITY COLLEGE                       )
                   Defendant                       )


                            EXHIBIT TO DEFENDANTS'
                           MEMORANDUM IN SUPPORT
                       OF MOTION FOR SUMMARY JUDGMENT


       Comes now the defendant Dodge City Community College and conventionally files the

attached DVD, as Exhibit E to its Memorandum in Support of Motion for Summary Judgement,

pursuant to the court's Order, ECF Document 30.

                                          WATKINS CALCARA, CHTD.

                                          Isl     ALLEN G. GLENDENNING
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                                                   Attorneys for Defendant
          Case 6:17-cv-01174-EFM Document 33 Filed 09/06/18 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of September, 2018, I filed the above and foregoing
Exhibit to Defendants' Memorandum in Support of Motion for Summary Judgment to Defendant's
Motion for Summary Judgment by mailed, postage prepaid and properly addressed, to:

Peter Antosh
GARCIA & ANTOSH, LLP
1401 Central Ave.
Dodge City, KS 67801

Clerk of the Court
United State Courthouse
401 N. Market, Suite 204
Wichita, KS 67202


                                                   Isl     ALLEN G. GLENDENNING
                                                           Allen G. Glendenning, #12187
